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UNITED STATES DISTRICT COURT
CENTRAL DISTRICT OF CALIFORNIA

CIVIL MINUTES - GENERAL
Case No. 2:20-cv-11181-CAS-JPRx Date January 11, 2022

 

 

Title NEMAN BROTHERS & ASSOC., INC. v. INTERFOCUS, INC. ET AL.

 

 

Present: The Honorable CHRISTINA A. SNYDER

 

D. Rojas Not Present N/A

 

Deputy Clerk Court Reporter / Recorder Tape No.

Attorneys Present for Plaintiffs: Attorneys Present for Defendants:

N/A N/A

Proceedings: INTERFOCUS’ MOTION FOR SUMMARY JUDGMENT AND
PARTIAL SUMMARY JUDGMENT (DKT. 35, FILED ON JULY
13, 2021)

NEMAN BROTHERS’ MOTION FOR SUMMARY JUDGMENT
OR ADJUDICATION (DKT. 41, FILED ON JULY 26, 2021)

INTERFOCUS’ MOTION FOR SUMMARY JUDGMENT AS TO
COPYRIGHT VALIDITY ISSUE (DKT. 68, FILED ON
NOVEMBER 4, 2021)

I. INTRODUCTION
A. Neman Brothers Initiates This Action

Plaintiff Neman Brothers & Associates, Inc. (“Neman Brothers’’) filed this action
on December 9, 2020, against defendants InterFocus, Inc. (“Interfocus”) and Does 1-10.
Dkt. 1 (“Compl.”). Neman Brothers’ initial complaint asserted claims for: (1) copyright
infringement, against all defendants; (2) vicarious copyright infringement, against all
defendants; and (3) contributory copyright infringement, against all defendants. Id. In
the complaint, Neman Brothers alleges that garments sold on patpat.com, a website
owned and operated by Interfocus, infringed upon two of plaintiff's copyrights:
NB170268 (“Subject Design 1”) and NB161106 (“Subject Design 2”). Id. 4 10-20.

 

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Neman Brothers’ initial complaint also alleges that Interfocus previously infringed upon
Subject Designs 1-2. Id. ¥ 16.

B. Neman Brothers’ First Amended Complaint

Neman Brothers filed the operative first amended complaint on January 5, 2021.
Dkt. 2 (“FAC”). The FAC names Can Wang, an individual who allegedly served as one
of Interfocus’ principals during the relevant time period, as an additional defendant. Id. 4
6. As with the initial complaint, the FAC asserts claims for: (1) copyright infringement,
against all defendants; (2) vicarious copyright infringement, against all defendants; and
(3) contributory copyright infringement, against all defendants. Id. {| 28-45. In addition
to the allegations related to Subject Designs 1-2, the FAC alleges that defendants
infringed upon a third copyright: NB180228x2 (“Subject Design 3”). Id. § 25.

Cc. Interfocus’ Counterclaim

On February 19, 2021, Interfocus filed a counterclaim against Neman Brothers for
breach of contract. Dkt. 18 (“Countercl.”). Interfocus’ counterclaim alleges that Neman
Brothers breached a confidential settlement agreement (“Previous Settlement Agreement”
or “PSA”) by filing and pursuing this action. Id. { 12. Specifically, Interfocus alleges
that the copyright infringement claims that are the subject of this dispute were released by
the PSA, that Interfocus properly removed the allegedly infringing garments from its
platform within seven days as provided by the PSA’s “notice-and-cure” provision, and
that Neman Brothers seeks to recover for the alleged infringement of Subject Design 3
despite failing to send the contractually required notice to Interfocus. Id.

D. The Parties’ Cross-Motions for Summary Judgment

On July 13, 2021, Interfocus filed a motion for summary judgment on Neman
Brothers’ copyright claims and for partial summary judgment on its breach of contract
counterclaim. Dkt. 35 (“IF Mot.”).! Interfocus also filed a statement of uncontroverted
facts and conclusions of law. Dkt. 36 (“IF SUF”). On July 26, 2021, Neman Brothers

 

‘On July 13, 2021, Interfocus also moved to file the PSA under seal. Dkt. 34. On July
14, 2021, the Court granted Interfocus’ motion and ordered Interfocus to file the PSA
under seal. Dkt. 38.

 

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filed an opposition (Dkt. 43 (“IF Opp.”)) and statement of genuine disputed facts (Dkt.
43-1 (“IF GDF’”)). Interfocus filed a reply on August 9, 2021. Dkt 50 (“IF Reply”).

On July 26, 2021, Neman Brothers filed a motion for summary judgment or
summary adjudication on its copyright claims. Dkt. 41 (“NB Mot.”). Neman Brothers
also filed a statement of uncontroverted facts and conclusions of law. Dkt 41-1 (“NB
SUF”). On August 2, 2021, Interfocus filed an opposition (Dkt. 46 (“NB Opp.”)) and
statement of genuine disputed facts (Dkt. 47 (“NB GDF”)). On August 9, 2021, Neman
Brothers filed a reply (Dkt. 49 (“NB Reply’)) and a response to Interfocus’ statement of
genuine disputed facts (Dkt. 49-1 (“NB RDF’)).

On August 23, 2021, the Court held a hearing and provided its tentative order on
the parties’ cross-motions for summary judgment. Dkt. 58. The Court continued the
hearing on the parties’ cross-motions for summary judgment to November 22, 2021, after
granting Interfocus’ Federal Rule of Civil Procedure 56(d) request for further
investigation and discovery.” Id. Thereafter, pursuant to a stipulation between the
parties, the Court continued the hearing on the parties’ cross-motions for summary
judgment to December 6, 2021. Dkt. 63.

On November 1, 2021 Interfocus filed a supplemental brief in further support of its
motion for summary judgment and its opposition to Neman Brothers’ motion for
summary judgment. Dkt. 66 (“IF Supp.”). On November 4, 2021, Interfocus moved for
summary judgment on all of Neman Brothers’ claims on the grounds that the copyright

 

* In granting Interfocus’ Rule 56(d) request for additional discovery, the Court found that
Interfocus satisfied Rule 56(d)’s requirements, namely that the Rule 56(d) movant show
“(1) that they have set forth in affidavit form the specific facts that they hope to elicit
from further discovery, (2) that the facts sought exist, and (3) that these sought-after facts
are ‘essential’ to resist the summary judgment motion.” State of Cal. v. Campbell, 138
F.3d 772, 779 (9th Cir. 1998). More specifically, the Court found that Interfocus had
faced challenges in its attempts to conduct third-party discovery in China and gather
evidence relevant to whether Subject Designs 1-3 are original and whether its third-party
vendors purchased Garments 1-3 from Neman Brothers’ authorized vendors in China,
that those facts are essential to Interfocus’ ability to oppose summary judgment, and that
there is some basis for believing that the information sought by Interfocus actually exists.

 

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registrations on which it bases it claims are invalid as a matter of law.? Dkt. 68 (“IF Mot.
No. 2”). Interfocus also filed a statement of uncontroverted facts and conclusions of law
in support of its November 4, 2021 motion for summary judgment. Dkt. 69 (“IF SUF No.
2”).

On November 16, 2021, Neman Brothers filed an opposition to Interfocus’ second
motion for summary judgment. Dkt. 71 (“IF Opp. No. 2”). Neman Brothers also filed a
statement of controverted facts and conclusions of law in opposition to Interfocus’ second
motion for summary judgment. Dkt. 71-3 (“IF GDF No. 2”). On November 22, 2021,
Interfocus submitted a reply in support of its second motion for summary judgment. (“IF
Reply No. 2”).

On November 22, 2021, Neman Brothers filed its supplemental brief in further
support of its motion for summary judgment and its opposition to Interfocus’ motion for
summary judgment. Dkt. 73 (“NB Supp.”).

The Court held a hearing on December 6, 2021. Following the hearing, the Court
issued a tentative order in which it reserved judgment on the parties’ cross-motions for
summary judgment and required Neman Brothers to submit the relevant copyright
application materials to the Court so that it could determine whether it must issue a
request to the Register of Copyrights to advise the Court whether knowledge of the third-
party authorship of works included in Neman Brothers’ relevant group copyright
applications would have caused the register to refuse registration. Dkt. 79. On
December 21, 2021, Neman Brothers submitted its supplemental brief on the copyright
validity issue, and the copyright application materials at issue. Dkt. 80 (“NB Validity
Supp.”). On December 30, 2021, Interfocus submitted its reply brief on the copyright
validity issue. Dkt. 81. (“IF Validity Supp.”).

 

> Interfocus’ arguments in its November 4, 2021 motion for summary judgment are
identical to those submitted in its November 1, 2021 supplemental brief. See IF MSJ No.
2 at 5-10; IF Supp. at 5-10. Interfocus apparently submitted the November 4, 2021
motion for summary judgment in response to Neman Brothers’ procedural concerns

regarding the new affirmative arguments Interfocus raises in its supplemental brief. See
IF MSJ No. 2 at 5.

 

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Having carefully considered the parties’ arguments and submissions, the Court
finds and concludes as follows.

Il. BACKGROUND

Unless otherwise noted, the Court references only facts that are uncontroverted and
to which evidentiary objections, if any, have been overruled.*

A. Neman Brothers and Interfocus

Neman Brothers is a California corporation based in Los Angeles. Dkt. 42-1
(Declaration of Yoel Neman (“Neman Decl.’’)) §{ 4. Neman Brothers designs and sells
fabrics to garment manufacturers who in turn sell manufactured garments to retail
businesses. Id. § 4-6. These two-dimensional designs are either created internally or
purchased from design studios; the designs are then used on Neman Brothers’ textiles and
fabrics. Id. | 6, 8. Neman Brothers registers certain artworks for copyright protection
with the U.S. Copyright Office before introducing them to the market. Id. § 7.

Interfocus is a Delaware corporation with its principal place of business in
Mountain View, California. Countercl. § 3. InterFocus sells garments to U.S. consumers
exclusively through its website at https://us.patpat.com, but it does not manufacture the

 

4 Neman Brothers submitted evidence of the parties’ settlement discussions. See Dkt. 42-
2 (“Jeong Decl.”) J 10-21, 28-31, Exs. 31-37. Pursuant to Federal Rule of Evidence 408,
the Court will not consider this evidence. See Millenkamp v. Davisco Foods Int’l, Inc.,
562 F.3d 971, 980 (9th Cir. 2009) (“Rule 408 bars the admission of settlement negotiations
offered to prove liability.”). Otherwise, the parties assert numerous other evidentiary
objections to each other’s evidence, including that it is irrelevant, that it is hearsay, or that
documents have not been authenticated. “In motions for summary judgment with
numerous objections, it is often unnecessary and impractical for a court to methodically
scrutinize each objection and give a full analysis of each argument raised.” Capitol
Records, LLC v. BlueBeat, Inc., 765 F. Supp. 2d 1198, 1200 (C.D. Cal. 2010). This is
especially true where, as here, many of the objections are “boilerplate” and made without
analysis or argument. Id. To the extent that the Court relies on objected-to evidence, it
has considered and OVERRULED plaintiff's evidentiary objections. Evidence not
considered by the Court is not addressed.

 

 

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goods it sells, all of which come from other companies, including suppliers located in
China. Dkt. 35-1 (Declaration of WeiWei Le (“Le Decl.”)) § 2.

B. The Designs at Issue

Neman Brothers claims center around three separate two-dimensional designs.
Subject Design 1 (NB161106) was registered with the United States Copyright Office on
January 13, 2017, as part of Registration VAu-1-304-334. Neman Decl. § 11, Exs. 1-2.
Subject Design 2 (NB170268) was registered with the United States Copyright Office on
March 3, 2017, as part of Registration VAu-1-317-742. Id. § 12, Exs. 3-4. Subject
Design 3 (NB180228x2) was registered with the United States Copyright Office on April
30, 2018, as part of Registration VAu-1-330-970. Id. § 13, Exs. 5-6.

Subject Design 1:

 

 

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Subject Design 3:

 

 

The group copyright registrations for Subject Designs 1-3 each state that Neman
Brothers is the sole author of the designs, that the copyrights are for “2-D artwork[s],”
and that Subject Designs 1-3 are works “made for hire.” Neman Decl., Exs. 2, 4, 6. Each

 

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year, Neman Brothers creates hundreds of fabric designs, and Subject Designs 1-3 were
each registered for copyright as part of group copyright registrations consisting of at least
16 designs, and, in one case, over a hundred designs. Id.; Dkt. 66-2 (Deposition of Yoel
Neman (“Neman Depo.”) at 26:1-3). Every month, Neman Brothers files a group
copyright registration including several fabric designs. See Neman Depo at 26:12-19. In
the copyright registrations for Subject Designs 1-3, the Copyright Office noted that that
basis for registration was “unpublished collection.” Neman Decl., Exs. 2, 4, 6. Each of
the copyright registrations was certified by Yoel Neman, who stated in his declaration
that he is the president of Neman Brothers. Id. § 2, Exs. 2, 4, 6. Following the Court’s
December 6, 2021, order, Neman Brothers provided the application materials associated
with VAu-1-304-334 (Subject Design 1), VAu-1-317-742 (Subject Design 2), and VAu-
1-330-970 (Subject Design 3). Dkt. 80-1 (Second Declaration of Neman Brothers’
designer Adrineh Mokhtarians). Each of those applications identifies Neman Brothers as
the sole author associated with the several works included in the group copyright
registrations. Id., Exs. 50, 52, 54.

Subject Design | was authored by a European design studio and then purchased by
Neman Brothers prior to its registration as a copyright. See Neman Depo at 66:6-67:19.
Neman Brothers is not currently in possession of the invoice reflecting the purchase of
Subject Design 1, because it was “misplaced.” Id. at 71:2-4. At deposition, Yoel Neman
could not recall whether Subject Design 2 was purchased from a third-party design
studio. Id. at 114:24-115:2. Subject Design 3 was purchased from a third-party design
studio, Mustic, and subsequently assigned to Neman Brothers. Id. at 122:15-123:11.
Neman Brothers’ records reflected whether the Subject Designs 1-3 were purchased from
a third-party at the time Subject Designs 1-3 were registered for copyright. Id. at 115:8-
17. However, the group copyright registrations for Subject Designs 1-3 do not contain
any information regarding their third-party authors, or regarding how Neman Brothers
obtained ownership of the copyright. Neman Decl., Exs. 2, 4, 6.

Neman Brothers’ textile designer, Adrineh Mokhtarians, stated in a declaration that
she created or modified Subject Designs 1-2 by referring to other designs. Dkt. 71-2
(Declaration of Neman Brothers’ designer Adrineh Mokhtarians) {| 10-14. With respect
to Subject Design 1, Mokhtarians stated that she modified the design purchased from the
European design studio, Francesco. Id. With respect to Subject Design 2, she used other
designs, whose origin is unclear, as inspiration. Id. Mokhtarians did not address the

 

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creation of Subject Design 3, but stated generally that Neman Brothers “usually
modifie[s] the designs from design studios to make [them] better and more cost-efficient
for mass[] production” and to “fit better to the concepts [Neman Brothers is] pursuing in
[| certain seasons.” Id.

After registering new designs, Neman Brothers provides its customers with design
samples in multiple forms: a swatch (a small piece of fabric), a hanger (a fabric sample
with headers), and a CAD (a piece of paper with the design printed on it). NB SUF No.
12; Neman Decl. § 14, Exs. 7, 9, 11. Neman Brothers’ customers include garment
manufacturers, wholesalers, and/or importers that are located in or use vendors that are
located in Los Angeles, Shenzhen, Foshan, Guangzhou, and Shaoxing. Neman Decl. §
14. Neman Brothers’ sales records suggest that Neman Brothers has sold tens of
thousands of yards of fabric featuring Subject Designs 1-3. Neman Decl. § 16, 18, 20,
Exs. 8, 10, 12.

C. The Previous Litigation and Settlement

On November 26, 2019, Neman Brothers filed suit against Interfocus for copyright
infringement (the “Previous Action”). Interfocus SUF No. 3; Neman Brothers & Assoc..,
Inc. v. Interfocus, Inc., Case No. 2:19-cv-10112-JAK-AGR (C.D. Cal. 2019). In the
Previous Action, Neman Brothers alleged that a floral maternity dress (“Prior Garment
1”) infringed on Neman Brothers’ copyright in Subject Design | and that a baby floral
shirt and dress (“Prior Garment 2”) infringed upon Neman Brothers’ copyright in Subject
Design 2. See Neman Decl. {J 21-22, Exs. 13-14.

 

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Prior Garment 1:

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The case was resolved by settlement; the parties executed the PSA on March 23,
2020. See Dkt. 39 (PSA (under seal)). Plaintiff agreed to dismiss the Previous Action
with prejudice and received the Total Settlement Amount? of $15,000. Id. §§ 3-4.

The provisions of the PSA relevant to the cross-motions for summary judgment
now before the Court state, in part, that:

e “For any future intellectual property infringement allegation, including but
not limited to, any copyright infringement allegation, [Neman Brothers |
agrees to give [Interfocus] Adequate Notification in writing of such
infringement allegation, and allows [Interfocus] seven (7) business days
from receiving an Adequate Notification of an infringement to cure the
infringement by removing the allegedly infringed products and/or designs
from its platform.” Id. {] 5 (the “Notice-and-Cure Provision’).

e “An Adequate Notification of an alleged infringement shall [] include
reasonably specific information regarding the alleged infringement to allow
[Interfocus] to cure the infringement, to the extent reasonably available, by
identifying the infringing products or designs on [Interfocus’] website(s) or
platform(s), including (1) images of alleged infringing products or designs,
and (ii) hyperlinks to the alleged infringing products or designs on
[Interfocus’] website(s) and/or social media platform(s).” Id.

e “[Neman Brothers] agrees that it will not file a lawsuit or lodge a complaint
against [Interfocus] for an alleged infringement before the expiration of
thirty (30) days after giving [Interfocus] Adequate Notice of the alleged
infringement to allow Parties time to resolve the dispute amicably.” Id.

e “The Parties agree to make good faith efforts to settle all future disputes (if
any). For instance, the Parties optionally may enter into commercially
feasible transactions, such as a license agreement for the sale of the garments
bearing [Neman Brothers’ | designs by InterFocus through www.patpat.com

 

° Capitalized terms used herein and not otherwise defined are defined as set forth in the
PSA.

 

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as an online retailer to its individual customers and/or to settle all the
Parties’ future disputes (if any). If the Parties decide to enter into such an
agreement, they will execute a separate written agreement to memorialize
the specifics.” Id. §j 6.

e “The Parties .. . hereby release and discharge each other . . . of and from any
and all debts, demands, actions, causes of action, contracts, claims, suits,
damages and liabilities of any kind whatsoever, in law or in equity, whether
known or unknown, anticipated or unanticipated, and whether accrued or
hereafter to accrue that they now have, may have, or could have from the
beginning of time to the date of this Release against each other in connection
with, arising out of or based in whole or in part on any action or omission of
action or any facts or circumstances occurring or existing on or prior to the
date hereof relating to the Action.” Id. 4 7.

Following the execution of the PSA, Neman Brothers dismissed the Previous
Action with prejudice. IF SUF No. 9. Interfocus’ director of operations, Weiwei Le,
thereafter instructed his product team to avoid putting items similar to those included in
the previous litigation on Interfocus’ website, but did not implement any other changes to
Interfocus’ operations intended to avoid future copyright infringement lawsuits. See Dkt.
75-3 (Deposition of WeiWei Le) at 85:16-86:22.

D. The Allegedly Infringing Garments

On September 4, 2020, Interfocus’ website (patpat.com) was displaying for sale
red and navy versions of a maternity dress (“Garment 1”) that allegedly infringes upon
Subject Design 1.° Neman Decl. § 24, Exs. 15, 17. Neman Brothers alleges that Prior

 

° Interfocus objected to the authenticity of the printed webpages. See Dkt. 48, Exs. 13-
22. However, “courts have considered website print-outs sufficiently authenticated
where the proponent declared that they were true and correct copies of pages on the
internet and the print-outs included their webpage URL address and the dates printed.”
Haines v. Home Depot U.S.A., Inc., No. 1:10-cv—01763—SKO, 2012 WL 1143648, at *7
(E.D. Cal. Apr. 4, 2012). Here, Mr. Neman stated that the webpage printouts were
“screenshots” of the Interfocus website displaying pictures of the allegedly infringing

 

 

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Garment | contains the same two-dimensional design as Garment 1. See id., Ex. 13.
Similarly, on September 4, 2020, a floral print toddler dress (“Garment 2”) was available
for sale on patpat.com that allegedly infringes upon Subject Design 2. Id. Ex. 19.
Neman Brothers alleges that Prior Garment 2 contains the same two-dimensional design
as Garment 2. See id. Ex. 14. The care tags of Prior Garments 1-2 and Garments 1-2
contained different Stock Keeping Unit (“SKU”) numbers, which means that the
Garments at issue in this litigation (i.e., Garments 1-2) were not part of same production
batches as Prior Garments 1-2. NB SUF Nos. 27, 29, 38. Finally, on October 1, 2020, a
floral green nursing dress (“Garment 3”) was available on patpat.com that allegedly
infringes upon Subject Design 3. Id., Ex. 21.

Garment I:

 

 

garments. See Neman Decl. 4 24, 26, 28. Courts also consider the “distinctive
characteristics” of a website in making a finding of authenticity. Premier Nutrition, Inc.
v. Organic Food Bar, Inc., No. SACV 06-0827 AG (RNBx), 2008 WL 1913163, at *6
(C.D. Cal. Mar. 27, 2008), aff'd, 327 F. App’x 723 (9th Cir. 2009). The screenshots here
contain the patpat.com URL, distinctive corporate imagery, and the dates printed. The
Court thus finds that the authentication requirement is met for Exhibits 13, 14, 15, 17, 19,
and 21 to the Neman Declaration.

 

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Garment 2:

 

 

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Interfocus submitted declarations from its suppliers regarding the origin of
Garments | and 2.’ Garment 1 was supplied to Interfocus by Guangzhou Xinqi Yijian
Garment Co. Ltd. (“Xinqi’”). Dkt. 66-8 (Declaration of Xinqi Manager Gongwei Xiao).
Xinqi sourced the fabric to make this garment from HengZhou Fabric Company in
Hengzhou, Guangxi, China. Id. Garment 2 was supplied to Interfocus by Foshan
Chancheng District Aibeibei Garment Factory (“Aibeibei”). Dkt. 66-6 (Declaration of
Aibeibei General Manager Changquan Tao). Aibeibei purchased the fabric used to make
Garment 2 from XinRan Textile Company in China. Id. According to the declaration of
the Director of Sourcing for Shenzhen Yinfusi Co. Ltd., a supplier and sourcing company
for Interfocus, Subject Designs 1-3 “are widely available in China,” including at the
fabric market in Guangzhou, Guangdong, China. Dkt. 66-13 (Declaration of Zijia Chen,
Director of Sourcing for Shenzhen Yinfusi Co. Ltd.)

E. Notice and Removal of the Allegedly Infringing Garments

On September 15, 2020, Neman Brothers sent a letter to Interfocus stating that
Interfocus’ website, patpat.com, was offering for sale garments that allegedly infringed
upon Neman Brothers’ copyrights in Subject Designs 1 and 2. Dkt 35-5 (the “September
15, 2020 Letter”). Neman Brothers’ September 15, 2020 Letter also noted that “[i]n the

present case, Interfocus was put on clear notice[] as to [Neman Brothers’] designs and

 

7 Neman Brothers argues that Interfocus violated FRCP Rule 26 by failing to disclose the
identities of declarants Gongwei Xiao, Zijia Chen, and Changguan Tao prior to the filing
of their declarations. NB Supp. at 4. The Court declines to reach the question of whether
the strike these declaration in their entirety because, in any event, the key evidence
associated with these declarations is inadmissible hearsay. Specifically, to the extent the
declarations of Gongwei Xiao and Changguan Tao state that Xinqi and Aibeibei were
told by their fabric suppliers that they purchased the fabrics used to create Garments 1
and 2 at open markets in Guangdong, China, the Court SUSTAINS Neman Brothers’
evidentiary objections to these statements, because they are inadmissible hearsay, and
will not consider them. See Fed. R. Evid. 801(c); see also Hovland v. Gardella, No. CV
06-50-M-DWM-JCL, 2008 WL 11347934, at *2 (D. Mont. May 15, 2008) (“If a proper
objection is raised with respect to inadmissible evidence presented in summary judgment
proceedings, then a court may strike the evidence.”) (citing Federal Deposit Ins. Corp. v.
New Hampshire Ins. Co., 953 F.2d 478, 484-85 (9th Cir. 1991).

 

 

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copyrights because the two Subject Designs in this case were also litigated in the prior
case.” Id. In any event, Neman Brothers provided proper notice with respect to Subject
Designs | and 2, and Interfocus removed the allegedly infringing garments within seven
business days of receiving the September 15, 2020 Letter. IF SUF Nos. 10, 13-14. The
parties then engaged in unsuccessful settlement discussions. Le Decl. 15. With the
parties unable to settle, Neman Brothers filed its initial complaint on December 9, 2020.
Dkt. 1.

On January 5, 2021, Neman Brothers filed the FAC, which amended the initial
complaint by, inter alia, adding a copyright infringement claim related to Subject Design
3. FAC § 25. Neman Brothers did not provide Interfocus with written notice of this
additional alleged infringement prior to filing the FAC. IF SUF No. 18. Nonetheless,
Interfocus removed the new allegedly infringing garment from its platform within seven
days. Id. No 19.

Ill, LEGAL STANDARD

Summary judgment is appropriate where “there is no genuine dispute as to any
material fact and the movant is entitled to judgment as a matter of law.” Fed. R. Civ. P.
56(a). The moving party bears the initial burden of identifying relevant portions of the
record that demonstrate the absence of a fact or facts necessary for one or more essential
elements of each claim upon which the moving party seeks judgment. See Celotex Corp.
v. Catrett, 477 U.S. 317, 323 (1986).

If the moving party meets its initial burden, the opposing party must then set out
“specific facts showing a genuine issue for trial” in order to defeat the motion. Anderson
v. Liberty Lobby, Inc., 477 U.S. 242, 250 (1986): see also Fed. R. Civ. P. 56(c), (e). The
nonmoving party must not simply rely on the pleadings and must do more than make
“conclusory allegations [in] an affidavit.” Lujan v. Nat’] Wildlife Fed’n, 497 U.S. 871,
888 (1990); see also Celotex, 477 U.S. at 324. Summary judgment must be granted for the
moving party if the nonmoving party “fails to make a showing sufficient to establish the
existence of an element essential to that party’s case, and on which that party will bear the
burden of proof at trial.” Id. at 322: see also Abromson v. Am. Pac. Corp., 114 F.3d 898,
902 (9th Cir. 1997).

 

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In light of the facts presented by the nonmoving party, along with any undisputed
facts, the Court must decide whether the moving party is entitled to judgment as a matter
of law. See T.W. Elec. Serv.. Inc. v. Pac. Elec. Contractors Ass’n, 809 F.2d 626, 631 &
n.3 (9th Cir. 1987). When deciding a motion for summary judgment, “the inferences to be
drawn from the underlying facts . . . must be viewed in the light most favorable to the party
opposing the motion.” Matsushita Elec. Indus. Co. v. Zenith Radio Corp., 475 U.S. 574,
587 (1986) (citation omitted); Valley Nat’] Bank of Ariz. v. AE. Rouse & Co., 121 F.3d
1332, 1335 (9th Cir. 1997). Summary judgment for the moving party is proper when a
rational trier of fact would not be able to find for the nonmoving party on the claims at
issue. See Matsushita, 475 U.S. at 587.

IV. DISCUSSION
A. Interfocus’ Motion

Interfocus moves for summary judgment on Neman Brothers’ copyright
infringement claims, claiming they are precluded by the PSA. IF Mot. at 5. Interfocus
also moves for partial summary judgment on its breach of contract claim on this same
basis. Id. Moreover, in its supplemental brief and second motion for summary judgment,
Interfocus argues that Neman Brothers’ three copyright registrations are invalid as a
matter of law. IF Supp. at 5-10.

The Court addresses each of Interfocus’ contentions in turn.
1. The PSA’s Effect on Neman Brothers’ Copyright Claims

Interfocus argues the Court should grant summary judgment on Neman Brothers’
copyright infringement claims because “all of the alleged infringements in Neman
Brothers’ [FAC] have been contractually released, were cured pursuant to the ‘notice and

cure’ provisions of the PSA, and/or were filed without required notice in breach of the
PSA.” IF Mot. at 11.

The notice and cure provision in the PSA states that:

“For any future intellectual property infringement allegation, including but
not limited to, any copyright infringement allegation, [Neman Brothers |
agrees to give [Interfocus] Adequate Notification in writing of such

 

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infringement allegation, and allows [Interfocus] seven (7) business days
from receiving an Adequate Notification of an infringement to cure the

infringement by removing the allegedly infringed products and/or designs
from its platform.” PSA 4 5.

It is undisputed that Interfocus removed Garments | and 2 from its platform
with seven days of receiving notice, as required by Section 5 of the PSA. IF SUF
Nos. 13-14. Interfocus also removed Garment 3 from its platform less than seven
days after Neman Brothers filed the FAC. Id. No. 19. Interfocus contends that its
cure of these alleged infringements within seven days “contractually bars Neman
Brothers from pursuing them in this action pursuant to the plain language of the
PSA as a matter of law.”’® IF Mot. at 15. Interfocus points to case law that
generally stands for the proposition that “[c|uring a default means returning to pre-
default conditions, such that any consequence of the default are nullified.” Id.
(citing In re New Investments, Inc., 840 F. 3d 1137, 1143 (9th Cir. 2016) (internal
citations and quotation marks omitted)).

In opposition, Neman Brothers contends that the PSA’s Notice-and-Cure Provision
does not release Interfocus from all potential liability for infringement even if Interfocus
removes an allegedly infringing garment from its platform. IF Opp. at 5; 7-8. In support
of its position, Neman Brothers cites paragraph 5 of the PSA, which states that “[Neman

 

8 Interfocus also argues that “[t]he undisputed facts are that Interfocus engaged in no
allegedly infringing activities” involving the copyrights covered by the PSA “since
entering into the PSA.” IF Mot. at 12-13. However, Neman Brothers has submitted
evidence that raises a triable issue of fact regarding whether Interfocus engaged in
infringing activity regarding those same copyrights (1.e., Subject Designs | and 2) after
entering the PSA. See Neman Decl. § 24, Exs. 15, 17, 19. Along the same lines, at oral
argument on August 23, 2021, Interfocus suggested Exhibit 6 to the FAC represents an
attempt by Neman Brothers to recover for alleged infringements that occurred prior to the
execution of the PSA. See PSA § 7. However, the Court reads the references to Exhibit
6 and Exhibit 7 in the FAC as an attempt to show willful infringement. See FAC § 21.
To the extent Neman Brothers seeks to recover for allegedly infringing activity that
occurred prior to the execution of the PSA, the Court finds those claims are barred since
they were previously released by the PSA.

 

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Brothers] agrees that it will not file a lawsuit or lodge a complaint against [Interfocus| for
an alleged infringement before the expiration of thirty (30) days after giving Defendant
Adequate Notice of the alleged infringement to allow Parties time to resolve the dispute
amicably.” IF Opp. at 7 (citing PSA 45). Neman Brothers asserts that paragraph 5
makes it “obvious” that the parties understood that their dispute remained to be resolved,
even after the seven business days allocated for Interfocus to cure the ongoing
infringement. IF. Opp. at 7. Neman Brothers also points out that the PSA states that
[t]he Parties agree to make good faith efforts to settle all future disputes.” Id. (citing
PSA 4 6). With respect to the Notice-and-Cure Provision, Neman Brothers states that
“while cure was not a good choice of word . . . the objective intent manifested in the
agreement is to give seven business days to remove the on-going infringement while
giving thirty days to the parties to resolve the dispute about the liability issue.” IF Opp.
at 8. According to Neman Brothers, if the parties fail to negotiate a settlement after the
thirty days provided by the PSA, Neman Brothers may file suit. Id. In sum, Neman
Brothers argues that the PSA does not grant Interfocus “a de facto permanent and
unlimited license” to use Neman Brothers’ copyrights “until the time it gets caught.” Id.
at 16. Neman Brothers contends that Interfocus’ interpretation of the Notice-and-Cure
Provision would constitute “a forfeiture of Neman Brothers’ rights to take necessary
actions to protect its copyrights and seek damages.” Id.

In reply, Interfocus reiterates its assertion that the term “cure” means “to place a
contracting party in a pre-liability, pre-default position.” IF Reply 5-6. Interfocus asserts
that accepting Neman Brothers’ argument that “cure” means nothing more than removing
the issue of ongoing infringement would improperly render the term “cure” meaningless.
IF Reply at 8 (citing Cal. Civ. Code § 1641 (“The whole of a contract is to be taken
together, so as to give effect to every part, if reasonably practicable, each clause helping
to interpret the other.”)). Finally, Interfocus argues that the language in the PSA cited by
Neman Brothers—that the parties have thirty days resolve their disputes prior to litigation
and must engage in good faith settlement negotiations—is consistent with Interfocus’
reading of the PSA. This is because the presence of the Notice-and-Cure Provision does
not automatically eliminate all disputes. IF Reply at 9-10. Accordingly, the PSA
contains language that encourages the parties to negotiate a settlement even if an alleged
infringement is not “cured.” Id. Interfocus contends its reading of the PSA is the only
way to give meaning to all of its provisions and terms, including “cure.” Id.

 

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The PSA is governed by California law. See PSA § 10(d). The Court therefore
looks to California’s contract interpretation rules to construe the PSA. The California
Supreme Court summarized the principles of contract interpretation as follows:

[T]he intention of the parties as expressed in the contract is the source of
contractual rights and duties. A court must ascertain and give effect to this
intention by determining what the parties meant by the words they used.
Accordingly, the exclusion of relevant, extrinsic evidence to explain the
meaning of a written instrument could be justified only if it were feasible to
determine the meaning the parties gave to the words from the instrument
alone. . . . Although extrinsic evidence is not admissible to add to, detract
from, or vary the terms of a written contract, these terms must first be
determined before it can be decided whether or not extrinsic evidence is
being offered for a prohibited purpose. The fact that the terms of an
instrument appear clear to a judge does not preclude the possibility that the
parties chose the language of the instrument to express different terms. That
possibility is not limited to contracts whose terms have acquired a particular
meaning by trade usage, but exists whenever the parties’ understanding of
the words used may have differed from the judge's understanding.
Accordingly, rational interpretation requires at least a preliminary
consideration of all credible evidence offered to prove the intention of the
parties.

Pac. Gas & Elec. Co. v. G. W. Thomas Drayage & Rigging Co., 69 Cal. 2d 33, 38-
40 (1968) (internal citations and quotation marks omitted). “The interpretation of a
contract involves a two-step process: First the court provisionally receives (without
actually admitting) all credible evidence concerning the parties’ intentions to determine
‘ambiguity,’ 1.e., whether the language is ‘reasonably susceptible’ to the interpretation
urged by a party.” Wolf v. Superior Ct., 114 Cal. App. 4th 1343, 1351 (2004) (internal
citations and quotation marks omitted). “If in light of the extrinsic evidence the court
decides the language is ‘reasonably susceptible’ to the interpretation urged, the extrinsic
evidence is then admitted to aid in the second step—interpreting the contract.” Id. “A
settlement agreement is subject to the normal rules of contract interpretation. Adams v.
Johns—Manville Corp., 876 F.2d 702, 704 (9th Cir. 1989). Courts may look to extrinsic
evidence to interpret settlement agreements. See, e.g., Central Coast Pipe Lining, Inc. v.

 

 

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Pipe Shield USA, Inc., No. 2:13—cv—00639-ODW(Ex), 2013 WL 6442603, at *6 (C.D.
Cal. 2013). “Whether a contract provision is ambiguous is a question of law. If it is,
ordinarily summary judgment is improper because differing views of the intent of parties
will raise genuine issues of material fact.” Maffei v. N. Ins. Co. of New York, 12 F.3d

892, 898 (9th Cir. 1993) (citing ULS v. Sacramento Municipal Utility Dist., 652 F.2d
1341, 1344 (9th Cir. 1981)).

 

The Court finds and concludes the term “cure” is ambiguous in that it is not clear
whether the parties intended for the “cure” of an alleged infringement to release
Interfocus from liability or whether they intended for Interfocus to remain liable for any
damages caused prior to the “cure.” While the use of the term “cure” does suggest
exoneration, the PSA’s drafting history counsels in Neman Brothers’ favor. Interfocus
provided the first draft of the PSA, which included the following language in Section 5:

“[Neman Brothers] further agrees not to seek further remedies including
legal remedies once [Interfocus] has cured the alleged infringement by
removing the allegedly infringed products and/or designs from its platform
such as its website(s) and social media platforms in accordance with the
terms of this Settlement Agreement.”

Jeong Decl. § 22, Ex. 26. Neman Brothers rejected this language, and it was
not included in the final version of the PSA. See PSA 45. Ina later
communication with Interfocus, Neman Brothers stated that it “[would] not waive
any rights about the future actions if any. We never do that unless Defendant pays
more for it. . .. Otherwise, there is no reason for Plaintiff to waive its right to sue
your client for future infringements.” Id. § 24, Ex. 29.

In sum, given that the effect of “curing” an infringement is reasonably
susceptible to two or more interpretations, the Court concludes that the PSA is
ambiguous.°

 

° Insofar as Interfocus contends that Neman Brothers breached the PSA by amending the
complaint to add copyright infringement claims on Subject Design 3 without providing
proper notice, the Court finds that question is better resolved after the Court hears

 

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2. The Validity of Neman Brothers’ Copyright Registrations

 

Interfocus contends that factual inaccuracies regarding the copyright registrations
for Subject Designs 1-3 should invalidate the registrations. IF Supp. at 5-6. In particular,
Interfocus argues that “although the registrations claim Neman Brothers is the sole author
of all the works they identify, Mr. Neman admitted that some of the works identified in
each registration were authored by third party design studios from whom Neman Brothers
purchased rights, who are not named as authors or claimants in the registrations.” Id. at 5
(citing Dkt. 66-2 (Deposition of Yoel Neman) at 26:16-24). Interfocus contends that the
registrations should be invalidated based on these factual inaccuracies “because
Copyright Office regulations have required that group registrations of unpublished works
be limited to works by the same author or authors since 1978.” IF Supp. at 6 (citing 37
C.F.R. § 202.4; Group Registration of Unpublished Works, 82 FR 47415-01, 2017 WL
4536410(F.R.)). Interfocus also claims that Neman Brothers’ registrations “contain
numerous other factual errors and omissions that should invalidate them under the
general registration requirements of 17 U.S.C. § 409,” including the failure to “include a
statement that the subgroup of included works its employees created were ‘works made
for hire,’” and a failure to identify preexisting works incorporated into Subject Designs 1-
3. IF Supp. at 8-9.

Interfocus contends that “this Court should not rule on [copyright validity] in the
first instance,” and “should instead submit a request to the Register of Copyrights
pursuant to 17 U.S.C. § 411(b) ‘to advise the court whether the inaccurate information, if
known, would have caused [it] to refuse registration.”” Id. at 9 (quoting Unicolors, Inc.
v. H&M Hennes & Mauritz, L.P., 959 F.3d 1194, 1197 (9th Cir. 2020). Interfocus
further contends that “[a|s invalidation of Neman Brothers’ copyright registrations would
be fatal to its copyright infringement claims, this Court should make such a request to the
Copyright Office now, and stay this action until the Copyright Office responds.” IF
Supp. at 10.

 

In opposition, Neman Brothers argues that Interfocus’ argument relies upon
regulatory language, 37 C.F.R. § 202.4(c)(5), that “did not exist at the time of the

 

extrinsic evidence regarding whether “curing” an infringement releases Interfocus from
liability.

 

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registrations of’ Subject Designs 1-3, and that 37 C.F.R. § 202.4(c)(5) “cannot apply
retroactively to applications approved . . . in 2017.” IF Opp. No. 2 at 4 (citing Sacks v.
S.E.C., 648 F.3d 945, 951 (9th Cir. 2011)). Neman Brothers also argues that “while
|Neman Brothers’ registrations included both purchased and internally-created designs,
it was [] standard procedure [for] Neman through its designer [to make] changes to the
purchased designs before registration in order to make the designs more cost-efficient in
manufacturing and marketable . . . [t]herefore, for both purchased and internally-created
designs, there was at least one author who contributed copyrightable authorship to each
of the designs as elements in the collection.” IF Opp. No. 2. at 5.

Moreover, Neman Brothers contends that the “author” of a work under the
applicable regulations includes “an employer or other person for whom a work is ‘made
for hire.’” IF Opp. No. 2. at 5 (citing 37 C.F.R. § 202.3(a)(2)). Further, Neman Brothers
contends that “the subject designs based on the purchased designs were modified by
Neman’s employee, which [establishes that] Neman as one of the authors [] contributed
copyrightable authorship to each element, notwithstanding whether the designs were
internally made or were modified from the purchased designs.” IF Opp. No. 2. at 6-7. In
sum, Neman Brothers argues that it should be categorized as the author of Subject
Designs 1-3 because it obtained all ownership rights to Subject Designs 1-3 and also
contributed to each of the designs. Id. at 5-7.

In reply, Interfocus reiterates that “the Copyright Office should be asked whether it
would have refused Neman Brothers’ group registrations based on the true facts
concerning them.” IF Reply No. 2 at 4. Interfocus contends that Neman Brothers
argument regarding the 2019 amendments to 37 C.F.R. § 202.4 ignores that fact that
{t]he Copyright Office has limited group registrations of unpublished works to works
that include the same author since 1978, and Neman Brothers’ group registrations have
never complied with those limitations.” Id. Interfocus also claims that Neman Brothers’
argument that it contributed to the works contained in the group copyright registrations
cannot defeat summary judgment because Neman Brothers has not proffered any
evidence suggesting that all or every third-party work included in the group copyright
registrations that include Subject Designs 1-3 was actually modified by Neman Brothers
before it was registered. Id. at 5-9.

 

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In its supplemental brief on the copyright validity issue, Neman Brothers argues
that if it had known that the application form required identification of all of the authors
or co-authors, it would have disclosed them. NB Validity Supp. at 2. Neman Brothers
adds that “the alleged failure to give the information about all of the authors is not [an]
issue of invalidation, but merely an immaterial issue of supplementation.” Id. Neman
Brothers characterizes its failure to identify the authors of the works included in the
group copyright registrations at issue as an “inadvertent” error that should not jeopardize
their validity. Id. at 3.

In turn, in its supplemental brief, Interfocus argues that “Plaintiff's copyright
application documents confirm that it knowingly provided inaccurate authorship
information to the Copyright Office to obtain the group registrations it alleges InterFocus
infringed in this action.” IF Validity Supp. at 2. Interfocus also argues that Neman
Brothers’ supplementation argument lacks merit because it “improperly asks this Court to
decide an issue Congress and the Ninth Circuit have directed should first be determined
by the Copyright Office.” Id. at 5.

17 U.S.C. § 411 states that “[i]n any case in which inaccurate information
described under paragraph (1) is alleged, the court sha// request the Register of
Copyrights to advise the court whether the inaccurate information, if known, would have
caused the Register of Copyrights to refuse registration.” 17 U.S.C. § 411(b)(2)
(emphasis added). In turn, paragraph (1) states that “[a] certificate of registration
satisfies the requirements of this section and section 412, regardless of whether the
certificate contains any inaccurate information, unless . . . (A) the inaccurate information
was included on the application for copyright registration with knowledge that it was
inaccurate; and (B) the inaccuracy of the information, if known, would have caused the
Register of Copyrights to refuse registration.” 17 U.S.C. § 411(b)(1). The Ninth Circuit
has interpreted this statute in the following manner:

“Tn practice, once a defendant alleges that (1) a plaintiff's certificate of registration
contains inaccurate information; (2) the inaccurate information was included on the
application for copyright registration; and (3) the inaccurate information was
included on the application with knowledge that it was inaccurate, a district court
is then required to submit a request to the Register of Copyrights to advise the
court whether the inaccurate information, if known, would have caused [it] to

 

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refuse registration. . . . In other words, courts may not consider in the first instance

whether the Register of Copyrights would have refused registration due to the
inclusion of known inaccuracies in a registration application.”

Unicolors, Inc. v. H&M Hennes & Mauritz, L.P., 959 F.3d 1194, 1197 (9th Cir.
2020) (citations and quotations omitted). Moreover, “courts are in agreement that [§
411(b)(2)] is mandatory in nature, requiring district courts to solicit the advice of the
Copyright Office when the statutory conditions are satisfied.” Palmer/Kane LLC v.
Rosen Book Works LLC, 188 F. Supp. 3d 347, 348 (S.D.N.Y. 2016) (collecting cases).
Accordingly, the key question before the Court is whether the statutory criteria for
mandatory referral to the Copyright Office are met in this case.

With respect to 37 C.F.R. § 202.4(c)(5), the requirement that “all the works in the
[group registration of unpublished works] must be created by the same author or the same
joint authors” didn’t exist until a notice of proposed rule making dated October 12, 2017
and a final rule dated February 13, 2019. See Group Registration of Unpublished Works,
82 FR 47415-01, 2017 WL 4536410(F.R.); Group Registration of Unpublished Works,
84 FR 3693-01, 2019 WL 564193(F.R.). Before the 2019 amendments, the rule with
respect to group registration of unpublished works required that “all the elements in the
collection must be created by the same author—unless they were created by multiple
authors, in which case at least one author must contribute copyright authorship to each
element.” Group Registration of Unpublished Works, 82 FR 47415-01, 2017 WL
4536410(F.R.). Following the 2019 amendment, the rule with respect to group
registration of unpublished works requires that that “[a]ll the works must be created by
the same author or the same joint authors, and the author and claimant information for
each work must be the same.” 37 C.F.R. § 202.4(c)(5).

 

The parties’ dispute regarding 37 C.F.R. § 202.4(c)(5) is beside the point, as even
before the 2019 amendments, “if the author and claimant are not the same person, the
applicant [was] required to provide a transfer statement explaining how the claimant
acquired all of the rights that initially belonged to the author.” Group Registration of
Unpublished Works, 82 FR 47415-01, 2017 WL 4536410(F.R.). Moreover, Section
409(2) of the Copyright Act states that an application for a copyright registration “shall
include . . . the name and nationality or domicile of the author or authors.” 17 U.S.C. §
409(2). Further, “if the copyright claimant is not the author,” the application for

 

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copyright registration “shall include . . . a brief statement of how the claimant obtained
ownership of the copyright.” 17 U.S.C. § 409(5). The 2017 version of the copyright
compendium, which reflected that state of play prior to the 2019 amendments, stated in
its guidance for the “registration for multiple works” that “the applicant must identify all
of the authors who created or co-created any of the elements [in a group registration],
even if a particular author did not contribute copyrightable authorship to all of those
elements.” See U.S. Copyright Office, Compendium of U.S. Copyright Office Practices
§ 1106.3(E) (3d ed. 2017). Accordingly, both before and after the 2019 amendments to
37 C.F.R. § 202.4(c)(5), Neman Brothers was required to identify “all” of the authors
who created or co-created any of the designs included in the group registration. Based on
the record before the Court, it appears Neman Brothers failed to meet this obligation.'°

With respect to 17 U.S.C. § 411’s statutory criteria, Neman Brothers’ registrations
for VAu-1-304-334 (Subject Design 1), VAu-1-317-742 (Subject Design 2), and VAu-1-
330-970 (Subject Design 3) contain inaccurate information in that they do not identify
third-party authors of the works contained in those registrations. See Unicolors, Inc., 959
F.3d at 1197. Likewise, Neman Brothers was aware, at the time of applications, that
listing itself as the only author for in the three copyright registrations was inaccurate. Id.:
see, e.g., Neman Depo. at 114:20-115:17 (stating that some works in the Registration
VAu-1-317-742 were “purchased from other studios” and that “the fact that some of the
works [] were purchased . . . would have been in Neman Brothers’ records when [the]
copyright registration was filed”). Finally, the applications materials provided by Neman
Brothers, which list Neman Brothers as the sole author of all the works included in
applications associated with group copyright registrations VAu-1-304-334, VAu-1-317-

 

 

10 At oral argument, Neman Brothers argued that the Court should permit it to correct its
failure to meet this obligation by supplementing the applications associated with
registrations VAu-1-304-334, VAu-1-317-742, and VAu-1-330-970. However,
Unicolors, Inc does not contemplate supplementation when the statutory criteria of 17
U.S.C. § 411(b)(2) are met. See 959 F.3d 1194. Rather, the Ninth Circuit “require[s]”
the district court “to submit a request to the Register of Copyrights to advise the court
whether the inaccurate information, if known, would have caused [it] to refuse
registration.” Id. The Court cannot order supplementation in lieu of an advisory request
to the Register of Copyrights when the statutory criteria of 17 U.S.C. § 411(b)(2) are met.

 

 

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742, and VAu-1-330-970, confirm that inaccurate information was “included on the
application for copyright registration.” See Unicolors, Inc., 959 F.3d at 1197.

 

Accordingly, the Courts finds that 17 U.S.C. § 411’s statutory criteria are satisfied,
and that is must issue a request to the Register of Copyrights to advise the Court whether
knowledge of the third-party authorship of works included in VAu-1-304-334, VAu-1-
317-742, and VAu-1-330-970 “would have caused the register to refuse registration.”
Palmer/Kane LLC, 188 F. Supp. 3d at 353. “If it is determined that a registration
contains inaccurate information, and that the inaccurate information was included in the
registration application with knowledge that the information was incorrect, and that the
inaccurate information would have caused the Copyright Office to refuse registration,
then [the Court] may declare the registration invalid.” Yellowcake, Inc., 522 F. Supp. 3d
at 778.

 

However, at this stage, given the pending inquiry to the Register of Copyrights
regarding the validity of Neman Brothers’ at-issue copyright registrations, the Court
RESERVES JUDGMENT on Interfocus’ motion for summary judgment.

B. Neman Brothers’ Motion

Neman Brothers moves for an order granting summary judgment on its copyright
infringement, vicarious copyright infringement, and contributory copyright infringement
claims against Interfocus. NB Mot. at 1-2. In the alternative, Neman Brothers moves for
an order finding that (1) Neman Brothers is the owner of Subject Designs 1-3, (2)
Interfocus copied the Subject Designs, and (3) Neman Brothers is entitled to recover
statutory damages again Interfocus as either a willful infringer or as an innocent infringer.
Id. at 2.

In opposition and through its supplemental brief, Interfocus contends that Neman
Brothers’ copyright claims are barred by the PSA. NB Opp. at 13-23; IF Supp. at 16-19.
In the alternative, Interfocus argues that disputes of fact regarding whether the PSA
released Neman Brothers’ copyright infringement claims (NB Opp. at 15) and whether
Interfocus cured the alleged infringements (id. at 23) should preclude summary judgment.
As discussed, at this stage, the Court concludes that the PSA in ambiguous given that the
effect of “curing” an infringement is reasonably susceptible to two or more
interpretations.

 

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In its supplemental brief, Interfocus also argues that the copyright registrations for
Subject Designs 1-3 are invalid as a matter of law, that Garments 1-3 may have may have
come from Neman Brothers’ authorized Chinese garment manufacturer, barring
plaintiffs sale under the first sale doctrine, and that “the differences between the flower
designs and placement in [Neman Brothers’ | allegedly copyrighted works and
InterFocus’ accused clothing are significant, and at least preclude summary judgment for
Plaintiff on [] substantial similarity.” IF Supp. at 10-16.

In turn, in its supplemental brief, Neman Brothers argues that the only explanation
for the similarity in the patterns depicted in Subject Designs 1-3 and Garments 1-3 is that
they are the product of copying. NB Supp. at 7.

The Court RESERVES JUDGMENT on whether Garments 1-3 infringe upon
Subject Designs 1-3 given the pending inquiry to the Register of Copyrights regarding
the validity of Neman Brothers’ copyright registrations.

V. CONCLUSION
In accordance with the foregoing, the Court orders as follows:

1. The Court RESERVES JUDGMENT on Interfocus’ motions for
summary judgment and partial summary judgment.

2. The Court RESERVES JUDGMENT Neman Brothers’ motion for
summary judgment or adjudication.

3. The Court will send an inquiry to the Register of Copyrights regarding
whether knowledge of the third-party authorship of works included in
copyright registrations VAu-1-304-334, VAu-1-317-742, and VAu-1-
330-970 would have caused the register to refuse registration. The Court
hereby STAYS the case for 90 days and sets a status conference for
April 11, 2022, at 11:00 a.m.

IT IS SO ORDERED.

 

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